                                                                                PAGE


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##

                                                                         ACCOUNT STATEMENT
                                                                               Page 1 of 2
                                                             STARTING DATE: April 01, 2023
                                                               ENDING DATE: April 30, 2023
                                                        Total days in statement period: 30

                                                                                          ( 0)

                                                                     Direct inquiries to:

                THOMAS CHE GOLDSTEIN




                Value Checking

     Account number
     Low balance
     Average balance
                                                      Beginning bal
                                                      Total additions   ( 1)
                                                      Total subtractions( 17)
                                                      Ending balance


     CREDITS
     Number       Date      Transaction Description                        Additions Control Number



     DEBITS
     Date   Transaction Description                                     Subtractions Control Number




     04-17 Outgoing Wire                                                  500,000.00




                                                                                                            Exhibit 6
                                                                           PAGE


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                                                                      ACCOUNT STATEMENT
                                                                            Page 2 of 2
                                                          STARTING DATE: April 01, 2023
                                                            ENDING DATE: April 30, 2023
                                                     Total days in statement period: 30
             THOMAS CHE GOLDSTEIN
                                                                                       ( 0)

Date     Transaction Description                                      Subtractions Control Number




DAILY BALANCES
Date           Amount              Date         Amount         Date               Amount




       OVERDRAFT/RETURN ITEM FEES
               -----------------------------------------------------------------------
             |                                        | Total for   |       Total      |
             |                                        | this period |   year-to-date |
             |--------------------------------------|
             | Total Overdraft Fees
             |--------------------------------------
             | Total Returned Item Fees
               --------------------------------------
